                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                        )
                                                 )
                Plaintiff,                       )       Cr. No. 18-04175 WJ
                                                 )
         vs.                                     )
                                                 )
JAMES CAREY,                                     )
                                                 )
                Defendant.                       )


                                    RESTITUTION ORDER

         THIS MATTER comes before the Court following the United States unopposed Motion

for Entry of Restitution Order. Doc. 60. Defendant appeared for sentencing on September 16,

2019. As part of Defendant’s sentence, restitution is mandatory pursuant to 18 U.S.C. § 2259.

The United States requests restitution in the amount of $29,460.80 for Jane Doe 1, in order to

cover therapy costs and lost wages for Jane Doe 1’s mother as a result of the offense. The United

States further requests restitution in the amount of $26,000 for Jane Doe 2, in order to cover

therapy costs. The total restitution order requested is $55,460.80. The Court, being fully advised

in the premises, and noting that Defendant is not opposed, hereby enters the following restitution

order:

         IT IS ORDERED, that Defendant shall pay restitution in the amount of $29,460.80 to

Jane Doe 1, and $26,000 to Jane Doe 2, for a total restitution order of $55,460.80.




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       IT IS FURTHER ORDERED that restitution is payable to the United States District

Court Clerk upon commencement of supervised release. The Court waives interest and orders

that restitution payments shall be made in the amount of $200.00 per month, or 10% of

Defendant’s monthly income (including military benefit and pension income), whichever is

greater.




                                           ___________________________________
                                           THE HONORABLE WILLIAM P. JOHNSON
                                           CHIEF UNITED STATES DISTRICT JUDGE

                                           Dated: January 23, 2020


SUBMITTED BY:

SARAH J. MEASE
Assistant United States Attorney


APPROVED BY:

JOE M. ROMERO, JR.
Attorney for Defendant




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